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                                                                                        MAR 1 I 2010
                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS                        .   IN OPEN COURT
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                                                                                    o   PU    CLERK
UNITED STATES OF AMERICA                      )
                                              )
v.                                            )     No. 4:09-CR-00304 JMM .
                                              )
JARED ROSE                                    )

                                      PLEA AGREEMENT

       The United States Attorney for the Eastern District of Arkansas, Jane W. Duke, by and

through Stephanie Mazzanti, Assistant United States Attorney, and Jared Rose, defendant,

represented by the undersigned counsel, hereby agree to the following tenns and conditions in

connection with the above teferenced proceedings.

       1.      GUILTY PLEA: The defendant will enter a plea of guilty to conspiracy to

manufacture at least 50 grams, but less than 200 grams, of a mixture or substance containing a

detectable amount of methamphetamine, a Schedule II controlled substance, on premises in which

an individual under the age of 18 years was present or resided, a violation ofTitle 21, United States

Code, Sections 841(a)(1), 841(b)(I)(B), 846, and 860a, as set forth in Count One ofthe Indictment.

The defendant will also admit to the Forfeiture Allegation contained in the Indictment. The United

States agrees to move for dismissal ofthe remaining counts against the defendant in this matter upon

acceptance ofthe guilty plea.

       2.      ELEMENTS OF THE CRIME: The parties agree the elements of the offense to

which the defendant will plead guilty are:

               A.      In or before July 2007, two or more persons reached an agreement or came

to an understanding to manufacture methamphetaririne;
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                B.      The defendant voluntarily and intentionally joined in the agreement or

understanding, either at the time it was first reached or at some later time while it was still in effect;

                C.      At the time the defendant joined in the agreement or understanding, he or she

knew the purpose of the agreement or understanding; and

                D.      The defendant manufactured methamphetamine on premises in which an

individual who is under the age of 18 years was present or resided.

        The defendant agrees that he is guilty of the offense charged and each of these elements is

true.

        3.      PENALTIES:

                A.      STATUTORY PENALTIES: The maximum penalty for the charge set forth

in Count One is not less than five years and not more than forty years imprisonment, a fine not to

exceed $2,000,000, or both; not less than four years supervised release; and a $100 special

assessment. The defendant is subject to an additional sentence ofimprisonment ofany term ofyears,

but not more than 20 years pursuant to 21 U.S.C. § 860a.

                B.      SUPERVISED RELEASE: Supervised release is a period of time following

imprisonment during which defendant will be subject to various restrictions and requirements.

Defendant understands that if defendant violates one or more of the conditions of any supervised

release imposed, the defendant may be returned to prison for all or part of the term of supervised

release, which could result in defendant serving a total term of imprisonment greater than the

statutory maximum stated above.

        4.      WAIVERS:        The defendant acknowledges that he has been advised of and fully

understands the nature ofthe charges to which the plea is offered, the mandatory minimum penalty

provided by law, if any, and the maximum possible penalty provided by law. The defendant further

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understands that by entering into this Agreement and Addendum, he is waiving certain constitutional

rights, including, without limitation, the following:

                A.     The right to plead not guilty or to persist in that plea if it has already been

made, and the right to a speedy and public trial before a jury;

                B.     The right to be presumed innocent and to have the burden ofproofplaced on

the United States to establish guilt beyond a reasonable doubt;

                C.     The right to confront and cross examine witnesses;

                D.     The right to testify in his own behalfifthe defendant so chooses, or, the right

to remain silent and not be compelled to testify, and to have that choice not used against the

defendant;

                E.     The right to call witnesses and to require those witnesses to appear by issuing

subpoenas.

       5.       STIPULATIONS: The United States and the defendant stipulate to the following:

                A.     The parties agree that the base offense level is 34 pursuant to U.S.S.G. §

4B1.1(b), as the defendant is a career offender.

                B.     The defendant is eligible for a 2 point reduction for acceptance of

responsibility unless the defendant takes any action between the entry of the guilty plea and

imposition ofthe sentence that is inconsistent with acceptance ofresponsibility. Ifthe offense level
                                ,

is 16 or greater, the determination ofwhether the defendant is eligible for a third point reduction for

acceptance of responsibility will be made by the United States at the time of sentencing.

                C.     The government will not seek a sentencing enhancement under Title 21,

United States Code, Section 851.



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        The parties understand that the Court is not bound by these stipulations. The defendant

further understands that ifthe Court does not accept the stipulations, the defendant is not entitled to

withdraw the guilty plea or otherwise be released from defendant's obligations under this Agreement

and Addendum.

       6.      SENTENCING GUIDELINES: It is specifically understood by the defendant that

the Sentencing Guidelines are not mandatory but areadvisory, and that the Court is to consult them

in determining the appropriate sentence. The defendant understands that the determination of the

applicability of the Guidelines and of the appropriate sentence will be made by the Court. The

defendant is aware that any estimate of the probable sentencing range under the Sentencing

Guidelines that the defendant may have received from the defendant's counsel, the United States, or

the Probation Office, is merely a prediction, not a promise, and is not binding on the United States,

the Probation Office, or the Court.       The United States makes no promise or representation

concerning what sentence the defendant will receive and the defendant cannot withdraw a guilty

plea, or otherwise avoid the defendant's obligations under this Agreement and Addendum, based

upon the actual sentence imposed by the Court. The parties understand and agree that if the

guideline range is greater or less than the defendant or the United States expected it to be, and/or the

sentence imposed by the Court is greater or lesser than anticipated, neither the defendant nor the

United States will be allowed to withdra:w, nor request withdrawal of, the guilty plea, norbe excused

from any obligation under this Agreement and Addendum.

       7.      ALLOCUTION: The United States reserves the right to bring any and all facts

which it believes are appropriate to the attention of the Court.




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        8.     COOPERATION IN THE SENTENCING PROCESS:

               A.      The defendant agrees to truthfully provide all information to the Probation

Office as is needed for preparation ofthe pre-sentence report, including, but not limited to, criminal

history information. The defendant shall voluntarily provide a complete and truthful written

accounting of the defendant's criminal history to the Probation Office.

               R       The defendant agrees to execute all waivers necessary for the preparation of

the pre-sentence report.

               C.      The defendant understands and acknowledges that the defendant's obligation

ofdisclosure regarding criminal history is not limited to arrests and convictions reported in computer

databases, but requires the defendant to disclose all arrests and!or convictions, including anyjuvenile

matters, regardless of whether the defendant believes the arrest/conviction counts under the

Sentencing Guidelines.

               D.      The defendant is required to comply with these obligations no later than the

expiration ofthe date on which objections to the pre-sentence report are due.

       9.      FINANCIAL MATTERS:

               A.      FINANCIAL STATEMENT: The defendant agrees to fully and truthfully

complete a Financial Statement provided by the United States Probation Office.

               B.      FINES: The defendant understands that unless the Court determines that the

defendant is financially unable to pay a fine, the Court must impose a fine pursuant to the Sentencing

Reform Act of 1984.

               C.      SPECIAL PENALTY ASSESSMENT: The defendant agrees to pay to the

United States a special assessment of$1 00.00 per count, as required by Title 18, United States Code,

Section 3013. This special assessment is to be paid by bank cashier's check or money order as

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directed by the Court. Cashier's checks or money orders should be made payable to "Clerk, United

States District Court."

               D.         RESTITUTION: The defendant acknowledges that restitution is mandatory

pursuant to Title 21, United States Code, Section 853(q). The defendant agrees to the entry of an

order ofrestitution for the full amount ofthe victims' losses. At this time, the United States and the

defendant agree that the amount ofrestitution payable by the defendant is approximately $1 ,391.50.

Restitution checks should be made payable to DEA, reference appropriation number 2009B-

2345330-SCOPR240-2345330, and should be sent to: DEA Headquarters, Attn: Betty Myers-

Section SFHF, 8701 Morrissette Drive, Springfield, VA 22152.

     10.       DOUBLE JEOPARDY AND SUCCESSIVE PROSECUTION: The United States

Attorney for the Eastern District ofArkansas will bring no further charges against the defendant for

any acts or conduct arising out ofthe events described in the Indictment, which is the subject ofthis

action, unless the Defendant breaches this Agreement and Addendum.

       11.     ASSET FORFEITURE AND FINANCIAL ACCOUNTABILITY:

       A.       The defendant agrees to forfeit all interests in the following property that facilitated

the defendant's offense, including the following specific property:

               (1)        One Jimenez Arms, Inc., .380 caliber semi automatic handgun, bearing serial

number 019573; and

               (2)        One M-ll 9mm SWD, Inc. semi automatic handgun, bearing serial nuinber

XX-XXXXXXX.

Defendant agrees to hold the United States, its agents and employees harmless from any claims

whatsoever in connection with the seizure or forfeiture of property covered by this agreement. The



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defendant further agrees that forfeiture of assets described above shall not be counted towards

satisfaction of any special assessment, fine, restitution, or any other penalty the court may impose.

        R The defendant agrees not to assist any other individual in contesting the forfeiture ofthe

assets described above and agrees that there was reasonable cause to seize such items. The defendant

also agrees to prevent the disbursement of any and all assets described above if said disbursements

are within the defendant's direct or indirect control.

        C. The defendant further agrees to waive all interest in, and consents to the forfeiture of, any

such asset in any administrative or judicial forfeiture proceeding, whether criminal or civil, state or

federal. The defendant agrees to consent to the entry of orders of forfeiture for such property and

waives the requirements of Federal Rules of Criminal Procedure 32.2 and 43 (a) regarding notice of

the forfeiture in the charging instrument, announcement of the forfeiture at sentencing, and

incorporation of the forfeiture in the judgment. Defendant acknowledges that he und~rstands that

the forfeiture of assets is part of the sentence that may be imposed in this case and waives any failure

by the court to advise him of this, pursuant to Rule 11 (b) (1 )(J), at the time his guilty plea is accepted.

        D. The defendant further agrees to waive all constitutional and statutory challenges in any

manner (including direct appeal, habeas corpus, or any other means) to any forfeiture carried out in

accordance with this Plea Agreement on any grounds, including that the forfeiture constitutes an

excessive fine or punishment. The defendant agrees to take all steps as requested by the United

States to pass clear title to forfeitable assets to the United States, including, but not limited to, the

execution of the Consent Decree of Forfeiture and the completion of any other legal documents

required for the transfer of title to the United States. Defendant acknowledges that all property

covered by this agreement is subject to forfeiture as property facilitating illegal conduct giving rise

to forfeiture.

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        12.       RECORDS: The defendant hereby waives all rights, whether asserted directly or by

a representative, to request or receive from any department or agency of the United States any

records pertaining to the investigation or prosecution of this case, including without limitation any

records that may be sought under the Freedom of Information Act, 5 U.S.C. Section 552, or the
                         \



Privacy Act of 1974,5 U.S.C. Section 552a.

        13.       CIVIL CLAIMS BY THE GOVERNMENT: Except to the extent otherwise

expressly specified herein, this Agreement and Addendum does not bar or compromise any civil or

administrative claim pending or that may be made against the defendant, including but not limited

to tax matters.

        14.       EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT AND

ADDENDUM:

                  A.     Defendant acknowledges and understands that if the defendant violates any

term ofthis Agreement and Addendum, engages in any further criminal activity prior to sentencing,

or fails to appear for any subsequent proceeding including sentencing, the United States shall have,

in addition to all other rights and remedies otherwise available, the right to:

                         (1)      terminate this Agreement and Addendum; or

                         (2)      proceed with this Agreement and Addendum and

                                  (a)   deny any and all benefits to which the defendant would

                         otherwise be entitled under the terms of this Agreement and Addendum;

                         and/or

                                  (b)   advocate for any sentencing enhancement that may be

                         appropriate.



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                B.      In the event the United States elects to tenninate this Agreement and

Addendum, the United States shall be released from any and all obligations hereunder. The

defendant acknowledges and understands that the agreement of the United States to dismiss any

charge is conditioned upon final resolution of this matter. If this Agreement and Addendum is

tenninated or if the defendant's conviction ultimately is overturned, then the United States retains

the right to reinstate any and all dismissed charges and to file any and all charges which were not

filed because of this Agreement and Addendum.

                C.     The defendant hereby knowingly and voluntarily waives any defense based

upon the applicable statute oflimitations and/or the Speedy Trial Act, for any charges reinstated or

otherwise filed against the defendant as a result of defendant's breach of this Agreement and

Addendum, so long as the United States initiates any otherwise time barred action within one year

oftennination or revocation of this Agreement and Addendum.

               D.      In the event that the Agreement and Addendum is tenninated or if the

defendant successfully moves to withdraw their plea, any statement made by the defendant in

negotiation of, or in reliance on this Agreement and Addendum:

                       (1)    may be used to cross examine the defendant should he testify in any

               subsequent proceeding; and/or

                       (2)     any leads derived therefrom may be used by the United States.

       The defendant waives any and all rights to the contrary and shall assert no claim under the

United States Constitution, any statute, or any rule of procedure or evidence to the contrary.

       15.      PARTIES:       This Agreement and Addendum is binding onlyupon the United States

Attorney's Office for the Eastern District ofArkansas and the defendant. It does not bind any United



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States Attorney outside the Eastern District of Arkansas, nor does it bind any other federal, state or

local prosecuting, administrative, or regulatory authority.

        16.    MISCELLANEOUS:

               A.      MODIFICATION: No term or provision contained herein maybe modified,

amended or waived except by express written agreement signed by the party to be bound thereby.

               B.      HEADINGS AND CAPTIONS: Subject headings and captions are included

herein for convenience purposes only and shall not affect the interpretation of this Agreement and

Addendum.

               C.      WAIVER: No waiver ofa breach of any term or provision ofthis Agreement

and Addendum shall operate or be construed as a waiver ofany subsequent breach or limit or restrict

any other right or remedy otherwise available. Any waiver must be expressly stated in writing signed

by the party to be bound thereby.

               D.      RIGHTS AND REMEDIES CUMULATIVE: Therightsandremediesofthe

United States expressed herein upon any breach hereunder by the defendant are cumulative and not

exclusive of any rights and remedies otherwise available to the United States in the event of any

breach of this Agreement and Addendum by defendant.

               E.      JOINT NEGOTIATION: This Agreement and Addendum has been mutually

negotiated by the parties hereto, and any uncertainty or ambiguity existing herein shall not be

interpreted against any party by reason ofits drafting ofthis Agreement and Addendum, but instead

shall be interpreted according to the application ofthe general rules ofinterpretation for arms length

agreements.

       17.     NO OTHER TERMS: This document and the Addendum completely reflect all

promises, agreements and conditions made between the parties, constitute the entire agreement

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between the parties and supersedes any and all prior agreements or understandings between the .

parties, oral or written, with respect to the subject matter hereof.

        18.     APPROVALS AND SIGNATURES:

                A.     DEFENDANT: The defendant has read this Agreement and Addendum and

carefully reviewed every part of it with their attorney. The defendant understands and voluntarily

agrees to the terms and condition of this Agreement and Addendum. Further, the defendant has

consulted with their attorney and fully understands their rights with respect to the provisions ofthe

United States Sentencing Guidelines which may apply to this case.            No other promises or

inducements have been made to the defendant, other than those expressly contained in this

Agreement and Addendum. In addition, no one has threatened or forced the defendant in any way

to enter into this Agreement and Addendum. Defendant further acknowledges that defendant has

entered into this Agreement and Addendum, consciously and deliberately, by defendant's free choice,

and without duress, undue influence or otherwise being forced or compelled to do so, and this

Agreement and Addendum constitutes the legal, valid and binding obligation ofthe defendant, fully

enforceable against defendant in accordance with its terms. Finally, the defendant is satisfied with

the representation of their attorney in this case.

                B.      DEFENSE COUNSEL: Defense counsel acknowledges that she is the

attorney for the defendant, and that she has fully and carefully discussed everypart ofthis Agreement

and Addendum with the defendant. Further, defense counsel has fully and carefully advised the

defendant of the defendant's rights, of possible defenses, and of the consequences of entering into

this Agreement and Addendum, including the possible consequences of not complying with this

Agreement and Addendum. To counsel's knowledge, the defendant's decision to enter into this

Agreement and Addendum is an informed and voluntary decision.

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       DATED this lith day of March, 2010.

                                                  JANE W. DUKE
                                                  United States Attorney



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Attorney for Defendant




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